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1                                                       Judge Lasnik
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7                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
8                                        AT SEATTLE
9
     UNITED STATES OF AMERICA,        )                 NO. CR05-260RSL
10                                    )
                     Plaintiff,       )
11                                    )
                v.                    )                 ORDER DENYING MOTION
12                                    )                 TO REDUCE SENTENCE
     KAHSAY MAMO ABRAHA,              )
13                                    )
                     Defendant.       )
14   _________________________________)
15           This Court, having reviewed the motion of the defendant to reduce his sentence
16   pursuant to Title 18, United States Code, Section 3582, and the government’s response,
17   //
18   //
19   //
20   //
21   //
22   //
23   //
24   //
25   //
26   //
27   //
28   //

                                                                                 UNITED STATES ATTORNEY
                                                                                 700 STEWART STREET, SUITE 5220
                                                                                SEATTLE, WASHINGTON 98101-1271
     Order Denying Motion to Reduce Sentence – 1                                         (206) 553-7970
     Abraha/CR05-260RSL
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1            IT IS NOW ORDERED that the motion to reduce sentence is denied.
2            DATED this 12th day of May, 2008.
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5
                                                        Robert S. Lasnik
6                                                       United States District Judge
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9    Presented by:
10

11   s/ Douglas B. Whalley
     DOUGLAS B. WHALLEY
12   Assistant United States Attorney
13
     United States Attorney's Office
14   700 Stewart Street, Suite 5220
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                                                                                  UNITED STATES ATTORNEY
                                                                                  700 STEWART STREET, SUITE 5220
                                                                                 SEATTLE, WASHINGTON 98101-1271
     Order Denying Motion to Reduce Sentence – 2                                          (206) 553-7970
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